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                   UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS

                                         )
                                         )
DAVID SEMANS,                            ) Case No.:
                                         )
             Plaintiff.                  ) 4:21-cv-00078-ALM
                                         )
      v.                                 )
                                         )
CHARTER COMMUNICATIONS                   )
                                         )
                Defendant.               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: November 08, 2021                      By: /s/ Jacob U. Ginsburg
                                              Jacob U. Ginsburg, Esquire
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                          CERTIFICATE OF SERVICE
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            I, Jacob U. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:




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                             Attorneys for Defendant



Dated: November 08, 2021                 By: /s/ Jacob U. Ginsburg
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